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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00229-RBJ

UNITED STATES OF AMERICA,

       Plaintiff,
v.

1. DAVITA INC.,
2. KENT THIRY,

       Defendants.

               UNITED STATES’ NOTICE OF ADDITIONAL AUTHORITY

       The United States files this notice to bring to the Court’s attention an additional, recently

decided authority in support of its opposition (Dkt. No. 67) to Defendants’ motion to dismiss

(Dkt. No. 49). On November 29, 2021, in United States v. Jindal, et al., No. 4:20-cr-00358-

ALM-KPJ (E.D. Tex.)—attached to this Notice as Exhibit A—the district court denied a motion

to dismiss an indictment charging the defendants with a per se Section 1 Sherman Act violation

for entering into an agreement to fix wages. Ex. A at 1-2. In denying the motion to dismiss, the

district court rejected the defendants’ arguments that the indictment’s allegation of wage fixing

did “not identify a per se Sherman Act violation” and violated “due process under the Fifth and

Sixth Amendments because they did not receive ‘fair warning’ the conduct was criminal, and the

per se designation improperly promotes a presumption of intent.” Id. at 7. The court’s reasoning

is relevant to several of the issues discussed at the hearing on Defendants’ motion to dismiss.

       At the outset, the district court in Jindal noted that the indictment “does not allege any of

the elements of a rule-of-reason offense.” Ex. A at 7. It therefore explained that “the Indictment



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must be dismissed if it fails to state a cognizable per se offense under the Sherman Act,” and that

this was “a question of law for the Court.” Id. at 7-8. So too here, the Indictment alleges per se

offenses and does not allege certain elements of a rule-of-reason offense, such as market power.

The district court’s opinion in Jindal is therefore relevant to the Court’s third question at the

hearing: whether the Court must determine at this junction whether the Indictment states a per se

offense.

        As to the sufficiency of the per se charge for wage fixing, and relevant to this Court’s

first and second questions relating to whether the Indictment here charges a per se market

allocation, the district court in Jindal recognized “that the facts of this case do not present those

typical of a price-fixing agreement,” Ex. A at 9, but that “[t]he Supreme Court has made clear

that the Sherman Act applies equally to all industries and markets—to sellers and buyers, to

goods and services, and consequently to buyers of services—otherwise known as employers in

the labor market,” id. at 10 (citing Anderson v. Shipowners’ Ass’n of Pac. Coast, 272 U.S. 359,

361-65 (1926)). The district court noted that “[o]ther courts have also recognized that wage-

fixing conspiracies—or horizontal agreements among buyers in the labor market—are illegal per

se like other price-fixing agreements,” id. at 14, and rejected the defendants’ argument that these

were all civil cases as a “distinction [that] is irrelevant,” id. at 15: “Just because this is the first

time the Government has prosecuted for this type of offense does not mean that the conduct at

issue has not been illegal until now. Rather, as these cases indicate, price-fixing agreements—

even among buyers in the labor market—have been per se illegal for years.” Id. Similarly here,

although this Court may be presented with one of the first prosecutions for a labor-market

allocation, the civil nonsolicitation and no-hire cases cited by the United States in its opposition



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show that these agreements are per se unlawful.

       The district court in Jindal also rejected the same argument that Defendants advance

here: that the court needed “considerable experience with the type of restraint at issue.” Ex. A at

15. The district court explained that “[j]udicial experience informs the decision to recognize a

‘new per se rule,’” id. (quoting Arizona v. Maricopa Cnty. Med. Soc’y, 457 U.S. 332, 350 n.19

(1982)), but “[p]rice-fixing agreements, as horizontal restraints, have long been held to merit a

per se designation,” id., and “courts ‘have [] considerable experience with the type of restraint at

issue’—price-fixing agreements,” id. (quoting Leegin Creative Leather Prods., Inc. v. PSKS,

Inc., 551 U.S. 877, 886 (2007)). “And though no appellate court has ever specifically found that

a price-fixing agreement among employers in the labor market is per se illegal [that] does not

mean the Court is recognizing a new per se rule. . . . Rather, a restraint that is ‘tantamount to’ per

se unlawful conduct ‘falls squarely within the tradition[al] per se rule.’” Id. at 15-16 (quoting

Catalano, Inc. v. Target Sales Inc., 446 U.S. 643, 648 (1980)). Here, the charged conspiracy is

“tantamount to” the per se unlawful customer-allocation agreements cited by the United States in

its opposition, see Opp. at 6-8, because Defendants agreed with their horizontal competitor not to

compete over employees, thereby allocating the current employees to their current employer.

       The district court in Jindal also rejected the defendants’ argument—advanced by

Defendants here—that possible procompetitive benefits of the wage-fixing agreement should

remove it from per se treatment: “Undeniably, ‘Supreme Court jurisprudence is clear: where the

per se rule applies, it is of no consequence that an agreement could potentially bring net

economic benefits to some part of the market.’” Ex. A at 16-17 (quoting United States v. Kemp

& Assocs., Inc., 907 F.3d 1264, 1277 (10th Cir. 2018)).



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       As to the constitutional issues raised by the Jindal defendants, the district court rejected a

claim—analogous to an argument advanced by Defendants here—that “because no court has

found that purported wage-fixing agreements constitute criminal conduct and neither the

Supreme Court nor any Court of Appeals has held wage fixing to be per se unlawful, then

Defendants ‘could not possibly have had fair warning that the conduct alleged in the Indictment

may be criminal.’” Ex. A at 19-20. The district court reasoned that “the Supreme Court has long

recognized that § 1 categorically prohibits per se unlawful restraints across all markets and

industries—including restraints on the buyer side and in the labor market.” Id. at 21 (citing

Mandeville Island Farms, Inc. v. Am. Crystal Sugar Co., 334 U.S. 219, 235-36 (1948);

Anderson, 272 U.S. at 361–63)). “Thus, decades of precedent gave Defendants more than

sufficient notice that agreements among competitors to fix the price of labor are per se illegal.”

Id. And “the numerous district court decisions holding that agreements to fix the compensation

of employees are per se unlawful reinforce this conclusion.” Id. The same is true here. Supreme

Court and circuit precedents have long made clear that agreements among competitors to allocate

markets, including via agreements not to solicit, are per se unlawful, and district court decisions

have held that agreements among employers not to hire or solicit employees are per se unlawful.

See Opp. at 6-12. Thus, “[a]t a minimum, these decisions foreclose Defendants’ argument

because it cannot be said that ‘no[] [] prior judicial decision has fairly disclosed [Defendants’

conduct] to be within [the] scope [of the Sherman Act].’” Ex. A at 21 (quoting United States v.

Lanier, 520 U.S. 259, 266 (1997)).

       Moreover, the district court explained, its holding “is not a ‘novel’ construction of the

Sherman Act—it comports with previous broad interpretations of the Act and is a logical



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application of precedent.” Ex. A at 21. And, the district court further opined, the fact “that ‘no

court has found that purported wage-fixing agreements constitute criminal conduct under the

Sherman Act’ does not mean that Defendants’ did not have fair notice”; specifically, the

“‘claimed novelty of this prosecution does not help [the defendants’ fair notice argument], for it

is immaterial that there is no litigated fact pattern precisely on point.’” Id. (quoting United States

v. Kinzler, 55 F.3d 70, 74 (2d Cir. 1995)). Likewise here, the claimed novelty of a prosecution of

employers for conspiring to allocate employees does not show a lack of fair notice given the

prior decisions condemning conspiracies among competitors to allocate customers or other input

suppliers, including via nonsolicitation agreements, and prior decisions making clear that

“employees are no less entitled to the protection of the Sherman Act than are consumers.” Id. at

12-13 (citing Anderson, 272 U.S. at 364–65). “Rather, the lack of criminal judicial decisions

only indicates Defendants’ unlucky status as [among] the first [defendants] that the Government

has prosecuted for this type of conduct before.” Id.

       Lastly, the district court in Jindal rejected the argument that the per se rule presumes an

element of the offense and thus violates the Sixth Amendment. Ex. A at 24. At the hearing in this

matter on Defendants’ motion to dismiss, Defendants raised the specter of just such a violation,

although it was not raised in their written motion or reply and thus should not be considered.

Regardless, the district court in Jindal recognized that every court of appeals to consider the

argument has rejected it, id. at 24-25 & n.5 (citing cases). “Neither a conclusive nor a permissive

presumption is at issue” for per se unlawful conspiracies. Id. at 24 (quoting United States v.

Cargo Serv. Stations, Inc., 657 F.2d 676, 683 n.7 (5th Cir. 1981)).




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DATED: November 30, 2021                Respectfully submitted,

                                        s/ William J. Vigen
                                        William J. Vigen, Trial Attorney
                                        James J. Fredricks, Chief
                                        Megan S. Lewis, Assistant Chief
                                        Anthony W. Mariano, Trial Attorney
                                        Sara M. Clingan, Trial Attorney
                                        U.S. Department of Justice, Antitrust Division
                                        Washington Criminal II Section
                                        450 Fifth Street, N.W.
                                        Washington, D.C. 20530
                                        Tel: 202-353-2411 / 202-307-1403 / 202-598-8145 /
                                        202-598-2737 / 202-480-1951
                                        FAX: 202-514-9082
                                        E-mail: william.vigen@usdoj.gov /
                                        james.fredricks@usdoj.gov / megan.lewis@usdoj.gov /
                                        anthony.mariano@usdoj.gov /
                                        sara.clingan2@usdoj.gov

                               CERTIFICATE OF SERVICE

       I certify that on November 30, 2021, I filed this document with the Clerk of the Court

using CM/ECF, which will serve this document on all counsel of record.

                                        s/ William J. Vigen
                                        William J. Vigen




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